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 7                           UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                                 Case No. 2:10-CV-00370-KJD-RJJ
                                                                2:10cr370 KJD-RJJ
12   v.                                                ORDER

13   ALFRED T. SAPSE, and RALPH M.
     CONTI, et al.,
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            Defendants.
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            Presently before the Court is Defendant Ralph M. Conti’s Motion in Limine (#123) to
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     prohibit the Government from offering evidence of co-conspirator statements against Conti until
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     independent evidence of the existence of a conspiracy is offered. The Government filed a response
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     in opposition (#124) to which Conti replied (#130). Conti also filed an Addendum (#132) to his
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     motion.
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            Federal Rule of Evidence 801(d)(2)(E) states that a statement offered against an opposing
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     party that was made by the party’s coconspirator during and in furtherance of a conspiracy is not
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     hearsay. An accused’s knowledge of and participation in an alleged conspiracy are preliminary facts
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     that must be established before extrajudicial statements of a co-conspirator can be introduced into
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 1   evidence. See United States v. Silverman, 861 F.2d 571, 576 (9th Cir. 1988)(citing Bourjaily v.

 2   United States, 483 U.S. 171 (1987)).

 3          The Government asserts that it will not offer any co-conspirator statements against Conti, and

 4   that if it does it will comply with the Federal Rules of Evidence. Thus, the motion is granted.

 5   However, Defendant is cautioned that he must still object at trial to any statement that is offered

 6   without compliance with Rule 801, or proof of Defendant Conti’s knowledge of or participation in

 7   the alleged conspiracy, because the Court has not definitively ruled to exclude any specific statement.

 8   See Fed. R. Ev. 103(b).

 9          Accordingly, IT IS HEREBY ORDERED that Defendant Ralph M. Conti’s Motion in Limine

10   (#123) is GRANTED.

11          DATED this 29th day of October 2012.

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                                                   Kent J. Dawson
15                                                 United States District Judge

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